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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                                *   CIVIL ACTION

VERSUS                                               *   NO. 2:20-cv-2679

THE ADMINISTRATORS OF THE                            *   JUDGE GREG GERARD GUIDRY
TULANE EDUCATIONAL FUND
                                                     *   MAGISTRATE JUDGE KAREN ROBY


                             REQUEST FOR ORAL ARGUMENT

      NOW INTO COURT, through undersigned counsel, comes Princess Dennar, M.D. (“Dr.

Lasky”) who, pursuant to Local Rule 78.1, respectfully request this Honorable Court entertain

oral argument on her Opposition to the Motion to Dismiss Pursuant to Rule 12(b)(6) and to

Motion to Strike Pursuant to Rule 12(f). Dr. Dennar believes oral argument will assist the Court

in addressing the issues raised in her opposition.

Dated: July 27, 2021                         Respectfully submitted,

                                              LOWE, STEIN, HOFFMAN, ALLWEISS
                                               & HAUVER, L.L.P.

                                              /s/ Melanie C. Lockett
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                                     -and-

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